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                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLUMBIA




   ESTATE OF ESTHER KLIEMAN, et al.

                           Plaintiffs,
                                                                       04 CV 1173 (PLF)
                      v.

   THE PALESTTNTAN AUTHORITY, et al.

                           Defendants.




       DEFENDANTS' MOTION FOR THE ABATEMENT OF ALL PROCEEDINGS
   IN THIS CASE FOR THREE MONTHS PENDING RECEIPT BY DEFENSE COUNSEL
     OF INSTRUCTIONS FROM THE NEW POLITICAL LEADERSHIP IN PALESTINE



           Defendants, the Palestinian Authority and the Palestine Liberation Organization, by their

   zttemeys, respectfiilly mive f i r the abateme?lt ef a! proceedings h this case fer t h e e mer,ths,

   until May 1, 2006, pending receipt by defense counsel of instructions from the new political

   leadership in Palestine, relief defendants are requesting at this time in all eight of the actions

   against them in U.S. Courts under the Anti Terrorism Act of 1991, 18 U.S.C. $2331, et. seq.,

   including this action, and in support of the motion state as follows.
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          During the weeks leading up to the Palestinian election defense counsel have not been able

  to communicate with the defendants or any officials of the government. At this crucial time of

  political turmoil, defense counsel have not received any instructions on issues in eight major cases

  and related proceedings. In view of the election's outcome, its uncertain consequences, and new

  officials yet to be determined, it is not clear what the instructions will be with respect to positions

  to be taken by the defendants in these eight U.S. cases under the Anti Terrorism Act ("ATA).

  Defense counsel are making every effort to contact old and new oEcials to get instructions and to

  find out how the defendants wish to proceed and whether the undersigned will be asked to

  continue as defense counsel. There are major political differences between the former political

  leadership and the new large majority of Hamas, which could change instructions regarding

  conduct of the defense.

         Under the circumstances and given the absence of instructions that exists with respect to

  the new government's position on these important aspects of the cases, an abatement of the

  proceedings is necessary and in the interests of justice.   As present counsel in these cases we



  hrther proceedings in abeyance for three months, until May 1, 2006.

          There is a real question whether the cases are now nonjusticiable as a threshold matter

  under the political question doctrine. See Hwang Geum Joo v. Japan, 413 F.3d 45, 47-48,

  (D.C.Cir. 2005), petition for certiorari pending, No. 05-543; see also Whiteman v. Dorotheurn

  Gmbh. 431 F.3d 57 (2d Cir 2005)(2-1); Alperin v. Vatican Bank, 410 F.3d 532 (9" Cir. 2005)(2-
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   1) cert denied, 546 U.S. ,     No. 05-326,05-539 (January 17,2006). Both          Joo and Whiteman
   were decided on remand by the Supreme Court for reconsideration in light of Republic of Austria

   v. Altmann, 542 U.S. 901 (2004).

           The adverse effect of these eight ATA cases on U.S. foreign policy and national security

   interests, and on the peace process in which the U.S. has played a major role and may take new

   positions to meet new political conditions, are forcefdly described in the Statement of Interest

   filed by the U. S. on September 12,2005 in a judgment enforcement proceeding in Ungar,

    18 MS 0302 (S.D.N.Y.). At this extremely sensitive moment, acts by U.S.Courts in any of these

   cases could cause irreparable injury to U.S. foreign policy and the Middle East struggle for peace.

   Further, in view of their potential adverse effect on vital U.S. foreign relations, the eight ATA

   cases should be treated as an exclusive constitutional responsibility of the Executive Branch until

   the United States states otherwise, or political conditions stabilize to a degree that judicial action

   clearly would not adversely affect U.S. foreign policy. Deference by federal courts to the

   Executive Branch is Constitutionally required, especially since issues of Palestine's sovereignty

   and statehood, matters squarely within Article 11, and critically important matters of foreign

   policy, including war or peace delegated in Articles I and I1 to Congress and the President, are at

   thc hezrt of the cases. As the -
                                  JGGcase ikstrates 2 ~ discusses,
                                                        d          there is a q ! e Execcfi~e

   authority and discretion to include settlement of civil tort clainls in efforts to bring international

   hostilities to an end. 4 13 F.3d, supra, at 50-52. See also, the recent decision in Doe v. State of

   Israel, 400 F.Supp.2d 86 (D.C.D. 2005), holding Palestinian claims against Israel and related

   defendants arising fiom the Israeli-Palestinian conflict to be nonjusticiable under the political

    question doctrine. Can the lives of only one side to a conflict be nonjusticiable? If so, such a
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  rule will be perceived by those denied relief as hostile, discriminatory and unjust.

         In view of the dire financial situation of the Palestinian government, and the

  impoverishn~entof the Palestinian people, the amount of the clainls in the eight ATA cases,

  seeking billions of dollars, and their egregious one-sidedness, are major obstacles to the peacehl

  resolution of hostilities and the achievement of important U.S. objectives in the Middle East.

          WHEREFORE defendants pray for an abatement of all proceedings until May 1, 2006.

  Dated: January 30, 2006                       Respecthlly submitted,


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                                                 Authority and the Palestine Liberation Organization
